   Case: 1:20-cv-02111 Document #: 71 Filed: 03/16/22 Page 1 of 20 PageID #:1281




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 ELIZABETH GONZALEZ,                               )
                                                   )
                                Plaintiff,         )
                                                   )
                v.                                 )   No. 20 C 2111
                                                   )
 CHARLOTTE A. BURROWS, Chair of the                )   Judge Kennelly
 U.S. Equal Employment Opportunity                 )
 Commission,1                                      )
                                                   )
                                Defendant.         )

         DEFENDANT’S REPLY IN SUPPORT OF ITS MOTION TO COMPEL
       THE PRODUCTION OF PLAINTIFF’S UNREDACTED MEDICAL RECORDS

                                             Introduction

        This is a disability discrimination and failure-to-accommodate case where the plaintiff,

Elizabeth Gonzalez, refuses to produce her unredacted medical records from shortly before,

during, and after the relevant time period (her employment at the EEOC), even with confidentiality

provisions in place. The EEOC agrees with Gonzalez that there are highly personal issues

involved that merit strong confidentiality protections but disagrees that those issues should bar the

production of unprivileged, relevant medical information in a disability discrimination case.

Gonzalez has produced only the records that she thinks support her view of her disabilities and not

the full scope of medical records that are relevant to her medical condition during the relevant time

period. The EEOC should not be forced to rely on Gonzalez and her attorney to cherry-pick and

screen which medical records they think are relevant to the EEOC’s defenses. The court should

compel the production of the unredacted medical records.



   1
      Current EEOC Chair Charlotte Burrows is automatically substituted for former Chair Janet
Dhillon under Fed. R. Civ. P. 25(d).
   Case: 1:20-cv-02111 Document #: 71 Filed: 03/16/22 Page 2 of 20 PageID #:1282




                                     Relevant Background

       Elizabeth Gonzalez was employed by the EEOC as a probationary employee from for just

under a year from December 1, 2014, to November 25, 2015. She was hired as an “information

intake representative” whose primary responsibility was to answer phones and respond to

questions from the public about the EEO process and filing EEO claims. Within that year, from

April to November alone, Gonzalez had used 92 hours of annual leave, 91.45 hours of sick leave,

and 241 hours of leave without pay (in other words, over 30 days of unpaid leave plus about 23

days of sick and annual leave). She was counseled several times during her employment about

her excessive absenteeism but did not improve her attendance. When the issue of her attendance

was addressed by her supervisor, Gonzalez stated that her absenteeism was caused by a domestic

violence situation, and she was directed to the Employee Assistance Program, the ADA

coordinator, and the City of Chicago’s resources via 311, according to her supervisor’s testimony.

Gonzalez’s attendance issues did not improve, and at the end of her probationary year, the EEOC

terminated Gonzalez due to her excessive absences. Gonzalez now claims that the termination

was due to her depression, anxiety, vertigo, and migraines.

       Given Gonzalez’s allegations of disability, the EEOC sought her medical records through

a third-party medical records service. Gonzalez objected to the subpoena and withdrew her

consent. The parties met and conferred and agreed to proceed with Gonzalez retrieving all of her

medical records and producing them in redacted format to the EEOC so the parties could hopefully

work through any disputes without court intervention. The undersigned expected small portions

of the records to be redacted (for example, specific phrases)—unfortunately, large portions were

redacted as described in the EEOC’s opening motion. Contrary to Gonzalez’s assertions in her

response brief about the EEOC taking advantage of an agreement, Dkt. 68 at 4-5, the EEOC never

                                                2
   Case: 1:20-cv-02111 Document #: 71 Filed: 03/16/22 Page 3 of 20 PageID #:1283




agreed that it would not dispute whether the redactions were appropriate; the agreement was for

Gonzalez to redact the medical records in order for the EEOC to view them and determine whether

it objected to the redactions and to provide the parties the opportunity to work through the

objections and seek court intervention only if necessary. Dkt. 53 ¶¶ 3-4. Disputes about the

redactions were contemplated as stated in the parties’ joint motion to serve additional subpoenas.

Dkt. 53 ¶ 4 (“The parties will meet and confer to work through any disputes that arise from the

redactions and hopefully come to an agreement without necessitating court intervention”).

Unfortunately, although the parties attempted to resolve the matter, they were unable to, and now

the EEOC seeks court resolution.

                                           Argument

       Before addressing the merits of the motion, two preliminary matters should be addressed

regarding the scope of the materials sought in the EEOC’s motion to compel and the EEOC’s

position on the confidentiality of the unredacted medical records. In regards to scope: Gonzalez

incorrectly summarizes the scope of what defendant is requesting.        Contrary to Gonzalez’s

assertions, the EEOC is not seeking all of Gonzalez’s medical records. As stated in the EEOC’s

motion to compel, the EEOC seeks unredacted medical records during the relevant time period:

(1) the three years prior to the beginning of Gonzalez’s employment (from Dec 1, 2011, to Dec 1,

2014); (2) the year period of Gonzalez’s employment with the EEOC (from Dec 1, 2014, to Nov

25, 2015); and (3) at least two years after her employment was terminated (from Nov 25, 2015, to

Nov 25, 2017). Dkt. 64 at 7 (“Thus, the EEOC moves to compel Gonzalez to provide unredacted

copies of her medical records during the most relevant time period, specifically from December 1,

2011, to November 25, 2017 (and even longer if she is asserting continued emotional damages).”).

The EEOC also seeks medical records past 2017 and up until the present if (and only if) Gonzalez

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   Case: 1:20-cv-02111 Document #: 71 Filed: 03/16/22 Page 4 of 20 PageID #:1284




is seeking continued emotional damages from 2017 up until the present. Thus, Gonzalez’s

statements and assertions that the EEOC is seeking “all of Plaintiff’s medical records” are

incorrect. Dkt. 68 at 4; cf. Dkt. 68 at 1 (“Defendant is not entitled to Ms. Gonzalez’s entire

medical and personal history . . .”). The EEOC is seeking only medical records that will show

Gonzalez’s medical condition shortly before, during, and after her employment with the EEOC.

       The court might wonder why the EEOC was not able to specify which Bates-stamped pages

it was seeking in unredacted form in its motion to compel. The simple fact is that some of the

medical records are so heavily redacted that the EEOC cannot determine when the medical record

was created. The EEOC now attaches Exhibit A which lists the redacted records chronologically,

if the date is apparent, and the undated records as well, to delineate the records it is seeking, to the

extent it can. Again, the EEOC is seeking only the medical records during the relevant time period

defined above.

       In regards to terms of production: The EEOC has no objection to treating Gonzalez’s

medical records as highly confidential and using standard litigation methods to protect confidential

material. The EEOC agrees with Gonzalez that information that is highly personal in nature, such

as a domestic violence situation, should be treated with the highest level of confidentiality. The

EEOC is not seeking to share Gonzalez’s medical records publicly but only to review the records

so it can appropriately defend this case. As the EEOC has conveyed to plaintiff’s counsel, the

EEOC is willing to receive the medical records with attorneys-eyes-only protection or any other

confidentiality protections the court finds appropriate and to work through a procedural

mechanism to allow the parties to confer about what information can be publicly disclosed in

filings or at trial. Thus, the EEOC is not seeking to embarrass Gonzalez in a public forum. 2 This


   2
       The EEOC specifically did not mention Gonzalez’s domestic violence situation in its
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     Case: 1:20-cv-02111 Document #: 71 Filed: 03/16/22 Page 5 of 20 PageID #:1285




is not a dispute between privacy versus publication but rather a dispute between disclosure versus

withholding.

I.      Gonzalez’s Medical Records during the Relevant Time Period Meet the Standard Set
        Forth in Rule 26 for Discovery and Should Be Produced.

        Rule 26 of the Federal Rules of Civil Procedure outlines the scope of permissible discovery

and provides that parties to a civil dispute are entitled to discover “any nonprivileged matter that

is relevant to any party’s claim or defense and proportional to the needs of the case,” regardless

of admissibility.   Fed. R. Civ. P. 26(b)(1) (emphasis added). Proportionality is determined by

considering “the importance of the issues at stake in the action, the amount in controversy, the

parties’ relative access to relevant information, the parties’ resources, the importance of the

discovery in resolving the issues, and whether the burden or expense of the proposed discovery

outweighs its likely benefit.” Id. The scope of permissible discovery is broad. Oppenheimer

Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978). Information sought in discovery need not be

admissible in evidence to be discoverable. Id. Thus, the court should determine: (1) whether a

privilege applies; (2) whether the sought discovery is relevant; and (3) whether the sought

discovery is proportional. Here, no privilege applies, Gonzalez’s medical records are relevant,

and the production of unredacted medical records during the relevant time period is proportional,



opening motion because of the sensitivity of putting such information in the public domain,
notwithstanding the fact that Gonzalez herself has asserted such information in her complaints, see
original complaint, Dkt. 1 at 48 (reference to informing supervisor of domestic violence situation);
Operative second amended complaint, Dkt. 40 ¶ 30 (references to the same). However, in her
response brief, Gonzalez raises her domestic violence situation as a reason to withhold her medical
records from the EEOC. Her domestic violence situation is not a sword to withhold medical
records that plaintiffs in disability discrimination cases typically turn over as part of standard
discovery process. This is not to say that there should not be additional protections due to the
sensitive personal nature of such concerns, but those additional privacy interest can be addressed
through the standard litigation mechanisms for dealing with highly confidential material such as a
confidentiality order (the EEOC has offered to enter into one) or an attorneys-eyes-only
production.
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   Case: 1:20-cv-02111 Document #: 71 Filed: 03/16/22 Page 6 of 20 PageID #:1286




especially when considering the EEOC’s willingness to abide by the highest level of

confidentiality protection.

       A.      Gonzalez Does Not Claim Any Privilege.

       No applicable privilege applies here. Gonzalez makes no claim that a privilege applies to

bar the production of her medical records, and thus any privilege argument is waived. Thus, if

the records are relevant and the discovery proportional, they should be produced with appropriate

confidentiality protections.

       B.      The Requested Unredacted Medical Records Are Relevant.

       Gonzalez’s medical records from the time period from Dec 1, 2011, to at least Nov 25,

2017 are relevant (at least in the discovery phase). “Evidence is relevant if: (a) it has any tendency

to make a fact more or less probable than it would be without the evidence; and (b) the fact is of

consequence in determining the action.” Fed. R. of Evid. 401.             To the state the obvious,

Gonzalez’s medical records will make a fact—her disabilities, the severity of those disabilities,

and the extent of her injury or damages—more or less probable.

       In its motion to compel, the EEOC described six specific examples of improperly

redacted medical records. Gonzalez does not address any of those examples in her response.

Most notably, Gonzalez does not even attempt to explain why she has refused to turn over

records related to a medical incident on February 4, 2015, that is included in her complaint. See

Ex. A to Opening Motion, Dkt. 64 at 22-24 (filed under seal); 2d Am. Compl., Dkt. 40 ¶ 25

(“Plaintiff had a medical event at work and went to the emergency room at Holy Cross Hospital

because of her medical condition on February 3, 2015.”). Surely, Gonzalez herself found it

relevant to the litigation given that she alleged the facts of the medical incident in her complaint.

And yet, Gonzalez has refused to provide these unredacted records to the EEOC, regardless of

                                                  6
   Case: 1:20-cv-02111 Document #: 71 Filed: 03/16/22 Page 7 of 20 PageID #:1287




their relevance or any offered confidentiality provision. And rather than at least address the

issue in her response brief, Gonzalez just ignores that argument and all of the other specific

illustrations offered by the EEOC.

       More generally, Gonzalez as a plaintiff does not get to pick and choose what medical

information she deems relevant. Gonzalez’s medical information during the relevant time period

is relevant because her medical condition is at issue generally. Not just her diagnosis, but what

she was and was not capable of doing and why. The EEOC is entitled to medical information that

both supports and undermines her alleged claims—that both shows her medical condition is more

severe or less severe. The specific things that could be seen in the redacted medical records

include: depression screening results that conflict with Gonzalez’s allegations, causal relationships

that undermine Gonzalez’s allegations, the absence of statements about her medical condition that

would support her testimony, indications of less or more severe symptoms, reasons that could have

caused her absenteeism other than her alleged disabilities (for example, alcoholism, which there is

evidence in the record of), and statements contrary to her current description of her medical

condition at the time, among others.

       Plaintiff repeatedly states that Gonzalez’s disabilities are undisputed. The EEOC will not

be contesting Gonzalez’s various diagnoses supported by the medical records but the severity of

Gonzalez’s disabilities is disputed and directly relates to whether she could perform her job with

or without an accommodation, a central issue in this action, and whether she was a qualified

individual with a disability.    Further, the EEOC intends to consult with experts to review

Gonzalez’s medical records to opine on the severity of her alleged disabilities—depression,

anxiety, vertigo, and migraines—and her ability to work during the relevant time period based on

her medical condition. As even lay people intuitively know, there is a huge range in regards to

                                                 7
   Case: 1:20-cv-02111 Document #: 71 Filed: 03/16/22 Page 8 of 20 PageID #:1288




an individual’s ability to function depending on the severity of the four alleged disabilities at issue

here, from those with migraines that are severe and frequent leading to almost complete

impairment, to those that live and work with migraines and are able to do so. The same can be

said about depression and anxiety. More importantly, it is not just whether Gonzalez is disabled

but whether she was a qualified individual with a disability. Gonzalez must show that she had “a

physical or mental impairment which substantially limits one or more of such person’s major life

activities,” 29 U.S.C. § 705(20)(B)(i)—in other words, she must show not only that she had some

medical diagnosis but that her disabilities were severe enough to substantially limit her life

activities.   The severity of Gonzalez’s disabilities is disputed, as well as whether any

accommodation could have been effective, and thus the facts of her medical condition directly

impact specific elements of her disability discrimination and failure-to-accommodate case. Thus,

the second prong is met—“the fact” (here, her medical condition and the severity of her alleged

disabilities) is “of consequence in determining the action.” Fed. R. Evid. 401.

        Case law supports the EEOC’s position. Gonzalez cites to Wier v. United Airlines, Inc.,

No. 19 CV 7000, 2020 WL 12432053, at *1-2 (N.D. Ill. Dec. 16, 2020), but Weir supports the

EEOC’s position. In Weir, the plaintiff had already “produced to Defendant unredacted versions

of her records from her two mental healthcare providers, including unredacted therapy session

notes, and Plaintiff [did] not raise an objection in her response to Defendant subpoenaing her

records directly from any of her healthcare providers, including her mental health providers.”

Wier 2020 WL 12432053, at *2 (emphasis added). In contrast, here, Gonzalez did not produce

unredacted copies of records from her mental healthcare providers or unredacted therapy session

notes; and Gonzalez did object to defendant subpoenaing medical records directly from her

providers. Furthermore, the order granted in Weir provided eight years of medical records to

                                                  8
   Case: 1:20-cv-02111 Document #: 71 Filed: 03/16/22 Page 9 of 20 PageID #:1289




defendant, which is more than the about five years of records that the EEOC is requesting here.

The other cases cited by Gonzalez (Ashley v. Schneider Nat’l Carriers, Inc., No. 12-cv-08309,

2014 WL 972154 (N.D. Ill. Mar. 11, 2014), and Warner v. Velardi, No. 16-cv-1924, 2017 WL

3387723 (S.D. Cal. Aug. 7, 2017)) are not disability discrimination cases and thus are not helpful.

Similarly, Anderson v. Abercrombie & Fitch Stores, Inc., No. 06-cv-991, 2007 WL 1994059, at

*4 (S.D. Cal. July 2, 2007), is not helpful because the discrimination case was not based on

disability or failure-to-accommodate claims but race and retaliation, and further, the court’s

reasoning relies on California privilege law not involved here. Id. at *4.

       Gonzalez argues that the medical records produced should be limited to records related her

claimed disabilities. As discussed above, that application of relevancy is far too narrow. But

even if the court accepted Gonzalez’s argument (it should not), the EEOC is still owed additional,

unredacted records.    Gonzalez has redacted records that are related to Gonzalez’s alleged

disabilities of depression, anxiety, migraines, and vertigo. For example, medical records from

Gonzalez’s hospital visit on February 4, 2015, referenced in her complaint, directly relate to

depression, and yet were still redacted. See Gonzalez-HolyCross 800-02, attached as Exhibit A

to Dkt. 64 (filed under seal).    Another example: medical records from a Holy Cross visit

(Gonzalez-HolyCross 854) list depression, suicidal ideation, and vertigo, as well as alcohol use,

and yet large portions of the record from that visit are redacted. See Ex. B (filed under seal).

Other medical records have the same problem (Gonzalez-UCMC 634 and Gonzalez-

FriendFamilyHealth 11) in that they are relevant to Gonzalez’s alleged disabilities (both records

reference her alleged disabilities) and yet they are still redacted. Id. In addition, although some

references to Gonzalez’s alcohol use disorder have been produced in unredacted form, see, e.g.,

Gonzalez-RiverEdge 2, alcohol use is not one of Gonzalez’s alleged disabilities and thus,

                                                9
  Case: 1:20-cv-02111 Document #: 71 Filed: 03/16/22 Page 10 of 20 PageID #:1290




according to Gonzalez’s argument, should not have to be produced.              Id. However, this is

obviously relevant because it relates to a possible defense, namely evidence of an alternative cause

of Gonzalez’s severe absenteeism. The EEOC does not know what other relevant information in

the medical records have been redacted, and the EEOC should not have to rely on plaintiff’s

determination of what is relevant to the EEOC’s defense in discovery.

       Finally, Gonzalez’s objection based on privacy concerns does not change the relevancy

analysis. Gonzalez’s medical records are relevant because she put her medical condition at issue

in this case by asserting that she suffered emotional distress and challenging the EEOC’s legitimate

reason for her employment termination with the allegation that it was instead based on her medical

condition and domestic violence situation. See Santelli v. Electro-Motive, 188 F.R.D. 306, 309

(N.D. Ill. 1999) (noting that plaintiff “cannot inject his or her psychological treatment, conditions,

or symptoms into a case and expect to be able to prevent discovery of information relevant to those

claims.”); Patterson v. Chicago Assoc. for Retarded Children, 1997 WL 323575, *3 (N.D. Ill.

1997) (“ADA plaintiffs . . . waive all privileges and privacy interests related to their claim by virtue

of filing the complaint.”). Accordingly, Gonzalez’s medical records during the specified time

period are relevant.

       C.      The Requested Medical Records Are Proportional.

       The medical records are time bound based on Gonzalez’s employment history with the

EEOC and any alleged issues of privacy and embarrassment can be resolved by a confidentiality

order and/or an agreed limitation such as attorneys-eyes-only. Again, the EEOC is not seeking to

make Gonzalez’s medical information public and would agree to a procedural mechanism for the

parties to confer before any information from the medical records was used in a public filing or at

trial. However, the EEOC should be able to collect evidence and evaluate for itself Gonzalez’s

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  Case: 1:20-cv-02111 Document #: 71 Filed: 03/16/22 Page 11 of 20 PageID #:1291




medical condition in this disability discrimination and failure-to-accommodate case, and should

be able to provide a complete set of medical records during the relevant time period to its experts. 3

       D.      The Legitimate Privacy Concerns Gonzalez Raises Should Be Addressed
               through Confidentiality Provisions, Not Bar Production Entirely.

       Gonzalez’s legitimate privacy concerns can be adequately addressed through a

confidentiality order and/or an attorneys-eyes-only limitation on the production of the unredacted

medical records. See Ill. League of Advocs. for the Developmentally, Disabled v. Ill. Dep’t of Hum.

Servs., No. 13 C 1300, 2013 WL 3287145, at *4 (N.D. Ill. June 28, 2013) (finding that

confidentiality order was sufficient to protect confidential nature of medical records and ordering

them to be produced in unredacted form). Gonzalez argues that because her medical records

contain highly personal information (Gonzalez implies that there are references to her domestic

violence situation in her medical records although the EEOC obviously cannot confirm that

assertion given the redactions), she should not have to produce the unredacted records at all.

However, this argument goes to support higher confidentiality protections, not to bar production.

Although the EEOC is happy to abide by a stringent confidentiality order, the EEOC should not

be placed at a disadvantage in defending this suit because one of the intertwined issues is of a

personal nature to plaintiff. The issue is unfortunately intertwined because when Gonzalez’s

direct supervisor addressed Gonzalez’s serious attendance issues midway through her probationary

year, according to her supervisor’s testimony, Gonzalez explained that she was absent due to her

domestic violence situation. See also Complaint, Dkt. 1 at 48 (noting that she informed supervisor


   3
       The EEOC will be seeking expert discovery if its motion for summary judgment is not
granted by the court. Gonzalez’s assertions on this front about what discovery defendant needs
to defend the case is improper. The EEOC requested a summary briefing schedule instead of an
expert discovery schedule because if the court grants summary judgment in the EEOC’s favor,
expert discovery will be unnecessary. If the court would like the EEOC to file an amended status
report to indicate its intention to seek expert discovery in this case, the EEOC will do so.
                                                   11
  Case: 1:20-cv-02111 Document #: 71 Filed: 03/16/22 Page 12 of 20 PageID #:1292




of domestic violence situation when addressing absences); 2d Am. Complaint, Dkt. 40 ¶ 30 (same).

This is not a case where there is an ancillary issue of domestic violence and defendant seeks further

discovery on that issue even though it is unrelated; this is a case where Gonzalez was terminated

for excessive absenteeism and when asked about why she was absent, according to her supervisor,

plaintiff pointed to her domestic violence situation. Further, although the EEOC is in agreement

that this topic deserves the highest level of confidentiality—and as such has offered attorneys-eye-

only protection for her medical records—such an allegation cannot be used as a sword to shield all

medical records relevant to Gonzalez’s overall medical condition from production because they

discuss her personal situation, especially where the alleged disabilities, depression and anxiety, are

intertwined with her domestic violence situation based on what Gonzalez said to her supervisor

during her employment. This is a difficult discovery issue because the EEOC will be the first to

admit that information related to domestic abuse is highly personal, but it is also central to the

litigation because plaintiff provided it as a reason for her excessive absences from work. Thus,

the EEOC seeks guidance from the court on balancing these interests.

II.    The Court Should Disregard Gonzalez’s Red Herring Arguments about Unrelated
       Discovery Issues.

       Gonzalez raises other, unrelated discovery issues that are not relevant to the issue at hand.

Gonzalez cannot get around providing relevant, documentary material by arguing about

depositions. For example, Gonzalez criticizes the EEOC for withdrawing Dr. Mirkin’s subpoena

for deposition after the undersigned scheduled the deposition and for subpoenaing family

members. These red herrings should be ignored. Ironically though, even if the court considers

these ancillary issues, this criticism merely emphasizes the EEOC’s need for these records. The

undersigned withdrew Dr. Mirkin’s subpoena for deposition because in the week prior to the

deposition when the undersigned attempted to prepare for the deposition, the undersigned could
                                                 12
  Case: 1:20-cv-02111 Document #: 71 Filed: 03/16/22 Page 13 of 20 PageID #:1293




not find Dr. Mirkin’s name anywhere in the unredacted medical records because—assumedly—

all of Dr. Mirkin’s records in the Sinai records were redacted. Gonzalez has, in her response, now

admitted that Dr. Mirkin is a relevant treater and yet, none of Dr. Mirkin’s treatment records were

provided in unredacted form. In preparing for the deposition, the undersigned was unable to

provide Dr. Mirkin’s treatment records to the doctor as requested. Given that many years have

passed since such treatment, the undersigned decided the medical records would more accurately

define Gonzalez’s condition than the doctor’s memory—unassisted by records—of Gonzalez’s

condition over six years ago and chose to withdraw the subpoena. The lack of medical records

produced here thus affected the undersigned’s ability to prepare for Dr. Mirkin’s deposition. If

anything, this issue highlights that these records should have been provided to defendant in

unredacted format months ago.

       Similarly, Gonzalez attempts to criticize the EEOC for serving family member subpoenas,

stating that the EEOC sent a subpoena to Gonzalez’s abuser. First, the EEOC does not know the

identity of the abuser because Gonzalez refused to answer any questions related to this topic at her

deposition and thus the EEOC was unable to identify and exclude the abuser and still subpoena

other available family members. The parties have met and conferred on this issue and since

agreed to stipulate that Gonzalez will not introduce any evidence at trial that the EEOC was not

allowed to discover during discovery related to these sensitive issues, which allows Gonzalez to

maintain privacy while still allowing the EEOC to avoid any unfair surprise at trial. Second, when

sending the family member subpoenas, the undersigned reached out to plaintiff’s counsel and

specifically stated that she would agree to limit the depositions to focus on personal observations

of Gonzalez’s disabilities. Suggesting now that the EEOC intended to delve into Gonzalez’s

domestic violence situation when counsel specifically noted that she would agree to a limitation

                                                13
  Case: 1:20-cv-02111 Document #: 71 Filed: 03/16/22 Page 14 of 20 PageID #:1294




ahead of time to exclude certain issues is not a fair representation. Further, Gonzalez’s counsel

at any time could have moved for a protective order or requested certain agreed limitations from

the EEOC and yet never did so. Again, these other, unrelated discovery issues are not relevant to

this motion.

                                          Conclusion

       For the above stated reasons, the EEOC requests that the court grant its motion to compel

the production of Gonzalez’s unredacted medical records during the relevant time period with

confidentiality provisions.

                                                 Respectfully submitted,

                                                 JOHN R. LAUSCH, Jr.
                                                 United States Attorney

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                                               14
Case: 1:20-cv-02111 Document #: 71 Filed: 03/16/22 Page 15 of 20 PageID #:1295




              Exhibit A
  Case: 1:20-cv-02111 Document #: 71 Filed: 03/16/22 Page 16 of 20 PageID #:1296




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 ELIZABETH GONZALEZ,                             )
                                                 )
                               Plaintiff,        )
                                                 )
                v.                               )    No. 20 C 2111
                                                 )
 CHARLOTTE A. BURROWS, Chair of the              )    Judge Kennelly
 U.S. Equal Employment Opportunity               )
 Commission,                                     )
                                                 )
                               Defendant.        )

     REDACTED BATES-STAMPED DOCUMENTS PRODUCED BY PLAINTIFF


        All redacted medical records are listed by Bates-stamp. Bold indicate the records fall
within the relevant time period. Italics means the time period is undetermined. Unaltered,
regular text indicates medical records that fall outside the EEOC’s motion to compel Asterisks
(**) indicate that the records are only sought if Gonzalez is seeking emotional damages for that
period of time.


      REDACTED BATES RANGE                    DATE OF SERVICE

      GONZALEZ – UCMC

      671 – 674                               02.15.08
      774 – 776                               07.29.08
      633 – 773                               09.09.08
      630 – 771                               09.11.08
      628                                     09.17.08
      676 – 769                               09.23.08
      622 – 624                               01.06.09
      620                                     03.13.09
      675 – 765                               05.12.16
      618 – 619                               Undetermined*
      621                                     Undetermined*
      625                                     Undetermined*
      626 – 627                               Undetermined*
      629                                     Undetermined*
      637                                     Undetermined*
      644                                     Undetermined*
      660                                     Undetermined*
Case: 1:20-cv-02111 Document #: 71 Filed: 03/16/22 Page 17 of 20 PageID #:1297




   665 – 670                        Undetermined*


   GONZALEZ-HOLYCROSS

   782 – 785                        02.04.15
   786                              02.04.15
   894                              02.03.15
   787                              02.03.15
   788 – 790                        02.03.15
   791 – 792                        02.04.15
   793                              02.03.15
   794 – 795                        Undetermined*
   796 – 797                        02.04.15
   798                              02.04.15
   799                              Undetermined*
   800 – 803                        02.04.15
   804 - 839                        05.13.16
   840                              06.01.16
   841 – 867                        07.29.16
   895                              07.29.16
   868 – 870**                      08.13.20
   871                              Undetermined*
   872 – 875**                      08.13.20
   876 – 878                        Undetermined*
   879 – 887**                      08.13.20
   891 – 892**                      08.13.20
   888 – 890**                      08.14.20

   GONZALEZ – RUSH

   587 – 617                        07.05.13
   549 – 586                        08.14.13
   528 – 545                        09.30.14
   492 – 527                        11.05.15
   444 – 491                        05.13.16
   358 – 443**                      07.28.19
   246 - 357**                      10.01.21

   GONZALEZ-
   FRIENDFAMILYHEALTH

   008 - 009                             12.05.11
   177 - 180                             Undetermined*
   010 - 013                             02.18.13
   018                                   02.21.13
Case: 1:20-cv-02111 Document #: 71 Filed: 03/16/22 Page 18 of 20 PageID #:1298




   019 - 021                             07.03.13
   022 - 025                             01.09.14
   026 - 028                             01.28.14
   029 - 032                             02.21.14
   055 - 059                             07.28.14
   060 - 062                             08.01.14
   063 - 067                             08.08.14
   068 - 071                             10.07.14
   072 - 076                             11.26.14
   077 – 082                             03.20.15
   207 – 213                             03.26.15
   083 – 087                             06.09.15
   088 – 093                             09.04.15
   214 – 216                             09.09.15
   094 – 097                             11.12.15
   098 – 118                             02.22.16
   119 – 123                             11.23.16
   124 – 129                             11.29.16
   130 – 134                             03.01.17
   135 – 141                             07.12.17
   226 – 228                             07.18.17
   142 – 146                             10.04.17
   147 – 155**                           10.15.18
   234 – 237**                           10.17.18
   156 – 162**                           10.29.18
   163 – 169**                           04.16.19
   170 – 174**                           06.13.19
   175 – 176                             Undetermined*
   181 – 206                             Undetermined*
   217 – 225                             Undetermined*
   229 – 233                             Undetermined*
   238 – 241                             Undetermined*
   242 - 245                             Undetermined*
Case: 1:20-cv-02111 Document #: 71 Filed: 03/16/22 Page 19 of 20 PageID #:1299




              Exhibit B
Case: 1:20-cv-02111 Document #: 71 Filed: 03/16/22 Page 20 of 20 PageID #:1300




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